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                                                                          Page 50
·1· · · · A.· ·I will have to check.· It does not have a
·2· ·revision date on it.· This is the form that is approved
·3· ·by the Secretary of State, so I will have to check and
·4· ·see when the last revision was.
·5· · · · Q.· ·Does this -- this does not have a form number
·6· ·associated with it since it's the Secretary -- it's
·7· ·created --
·8· · · · A.· ·The only form number that's referenced is up
·9· ·at the top under the dark Texas voter registration
10· ·application, the VR-64.
11· · · · Q.· ·Is that what DPS refers to this form as,
12· ·VR-64?
13· · · · A.· ·In most of the conversations we don't refer to
14· ·the form number.· We refer to the voter registration
15· ·application.· So I would have to check and see if that's
16· ·how they order it by.
17· · · · Q.· ·So this document, is it -- does it accompany
18· ·every time -- does it accompany the renewal application
19· ·eligibility form that DPS sends out?
20· · · · A.· ·The only time this is sent out is with the
21· ·mail renewal application.· If it is the mail renewal --
22· ·or not -- sorry, not the mail renewal.· If it's the
23· ·renewal notification telling them to go into the driver
24· ·license office , there's not a form that's sent out with
25· ·that.


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·1· · · · Q.· ·When does a customer receive a mail renewal
·2· ·notice versus a mail renewal application form?
·3· · · · A.· ·So you are required if you're a -- well, if
·4· ·you're a noncommercial driver or an identification card
·5· ·holder, you are eligible to renew by mail or online
·6· ·every other application.· So once every 12 years.· And
·7· ·there is certain criteria.· There's certain restrictions
·8· ·that keep you from being eligible.· And you have to be a
·9· ·citizen, and we have to have your social security number
10· ·on file in order for you to be eligible to renew by
11· ·mail.
12· · · · Q.· ·Why does DPS send a voter registration
13· ·application along with a mailed renewal notice?
14· · · · A.· ·Because it provides the -- it's part of the
15· ·application process, and it provides the customer the
16· ·opportunity to register to vote.
17· · · · Q.· ·Why is it a separate form from the mail
18· ·renewal form that DPS sends?
19· · · · A.· ·This is the process that has -- is in place,
20· ·and it is part of the approved plan between the
21· ·Department and the Secretary of State.
22· · · · Q.· ·When you say "approved plan," who approved the
23· ·plan?
24· · · · A.· ·The plan was developed between the Department
25· ·and Secretary of State.· I do not know the initial date.


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